       Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 1 of 42               FILED
                                                                          2014 Oct-14 AM 10:17
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA

ANTONIO CHEATHAM; MARK *
DUKE; JAMES EDWARDS; DALE *
GILLEY; FRANKY JOHNSON;             *
MICHAEL MAYS; DERRICK               *
WHITE; ALLAN WILLIAMS               *
and ROBERT WOODS, on behalf         *
of themselves and all others        *
similarly situated                  *
                                    *
      PLAINTIFFS,                   *    Civil Action No. _____________
vs.                                 *
                                    *
COMMISSIONER KIM THOMAS; *
ASSOCIATE COMMISSIONER              *
JAMES DELOACH; ASSOCIATE *
COMMISSIONER TERRANCE               *
MCDONNELL; DEPUTY                   *
COMMISSIONER GREG                   *
LOVELACE; INSTITUTIONAL             *
COORDINATOR GRANT                   *
CULLIVER; WARDEN CARTER *
DAVENPORT; ASSISTANT                *
WARDEN ERIC EVANS;                  *
ASSISTANT WARDEN KAREN              *
CARTER; CAPTAIN CARL                *
SANDERS; CAPTAIN GARY               *
MALONE, in their official           *
capacities,                         *
                                    *
      DEFENDANTS.                   *
                          _________________________

                      CLASS ACTION COMPLAINT
                       ________________________
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 2 of 42




                         PRELIMINARY STATEMENT

      Plaintiffs are men presently confined in the custody of the Alabama Department

of Corrections (“ADOC”) at St. Clair Correctional Facility (“St. Clair” or “the

Facility”), where mismanagement, poor leadership, overcrowding, inadequate

security, and unsafe conditions, including broken and nonfunctioning locks on the

majority of cell doors, have lead to an extraordinarily high homicide rate, weekly

stabbings and assaults, and a culture where violence is tolerated, creating conditions

of confinement that violate the Eighth and Fourteenth Amendments to the United

States Constitution. Because of poor management, drugs and other contraband – in

many cases contraband that is brought into the Facility and sold to prisoners by

officers or DOC staff – are prevalent. Furthermore, correctional staff fail to follow

policies and procedures and sometimes ignore urgent pleas for assistance that then

results in serious violence. The potential for violence is exacerbated by the dearth of

basic hygiene supplies, including soap, toilet paper, and underclothing, that can only

be obtained by purchase or favor. It is also exacerbated by new policies eliminating

or severely cutting back mental health and drug treatment services, rehabilitative

programming, and removing books and other constructive activities from the housing

units. The lack of basic hygiene supplies and opportunities to engage in activities,

including reading, creates an oppressive and monotonous environment that


                                          2
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 3 of 42




accommodates abuse and violence, as well as drug abuse in a population with a high

rate of mental illness and prior addiction.

      Defendants have failed to reasonably and adequately respond to this extremely

high rate of prisoner-on-prisoner assaults and homicides and the dangerous conditions

that facilitate the incidents and culture of violence. Plaintiffs bring this action

pursuant to 42 U.S.C. § 1983 for injunctive and declaratory relief to redress

Defendants’ violations of their rights under the Eighth and Fourteenth Amendments

to the United States Constitution.

      Each paragraph in this complaint incorporates, repeats, and realleges every

other paragraph in this complaint.

                          JURISDICTION AND VENUE

      1.     This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a).

Plaintiffs seek declaratory relief pursuant to 28 U.S.C. § 2201. Venue is proper

pursuant to § 1391(b).

                                      PARTIES

PLAINTIFFS:

      2. Plaintiffs Antonio Cheatham, Mark Duke, James Edwards, Dale Gilley,

Franky Johnson, Michael Mays, Derrick White, Allan Williams, and Robert Woods

are prisoners at St. Clair Correctional Facility. Each named Plaintiff has suffered


                                              3
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 4 of 42




physical harm or is in immediate danger of future harm. They seek to represent

themselves and all other current and future prisoners at St. Clair.

DEFENDANTS:

      3.     Defendant Kim Thomas is the Commissioner of the Alabama Department

of Corrections. As Commissioner, Defendant Thomas is responsible for the direction,

supervision, and control of the Department of Corrections. He is the highest ranking

official in the Alabama Department of Corrections. Defendant Thomas is sued in his

official capacity as Commissioner of the Alabama Department of Corrections.

      4.     Defendant James Deloach is the Associate Commissioner for Operations

for the Alabama Department of Corrections. As Associate Commissioner, Defendant

Deloach is responsible for ensuring the effective daily operations of prison facilities.

He supervises the Classification Review Board, the Training Division, the Transfer

Division, and the Institutional Coordinators. Defendant Deloach is sued in his official

capacity.

      5.     Defendant Terrance G. McDonnell is the Associate Commissioner for

Plans and Programs for the Alabama Department of Corrections. As Associate

Commissioner, Defendant McDonnell is responsible for the Central Records Division,

Research and Planning Division, Supervised Reentry Program, Religious Programs,

Educational and Vocational Education Programs, and Victim-Constituent Services.


                                           4
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 5 of 42




Defendant McDonnell is sued in his official capacity.

      6.     Defendant Greg Lovelace is the Deputy Commissioner for Maintenance

for the Alabama Department of Corrections. As Deputy Commissioner, Defendant

Lovelace is responsible for the maintenance and construction of correctional facilities.

Defendant Lovelace is sued in his official capacity.

      7.     Defendant Grant Culliver is the Institutional Coordinator for the Northern

Region of the Alabama Department of Corrections. Defendant Culliver is responsible

for planning, monitoring, and reviewing day-to-day operations of correctional

institutions in his assigned area, including St. Clair Correctional Facility. Defendant

Culliver is sued in his official capacity.

      8.     Defendant Carter Davenport is the Warden of St. Clair Correctional

Facility in Springville, Alabama. As warden, Defendant Davenport is responsible for

the day-to-day operations of the prison, as well as the safety of all inmates at the

Facility and the supervision of all subordinate employees. Defendant Davenport is

sued in his official capacity.

      9.     Defendant Karen Carter is an Assistant Warden of St. Clair Correctional

Facility in Springville, Alabama. As assistant warden, Defendant Carter is responsible

for the day-to-day operations of the prison, as well as the safety of all inmates at the

Facility and the supervision of all subordinate employees. Defendant Carter is sued


                                             5
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 6 of 42




in her official capacity.

       10.    Defendant Eric Evans is an Assistant Warden of St. Clair Correctional

Facility in Springville, Alabama. As assistant warden, Defendant Evans is responsible

for the day-to-day operations of the prison, as well as the safety of all inmates at the

Facility and the supervision of all subordinate employees. Defendant Evans is sued

in his official capacity.

       11.    Defendant Carl Sanders is a Captain at St. Clair Correctional Facility in

Springville, Alabama. As a Captain, Defendant Sanders is responsible for safety of

all inmates at the Facility, for supervising the security activities of St. Clair, and the

supervision of all subordinate employees. Defendant Sanders is sued in his official

capacity.

       12.    Defendant Gary Malone is a Captain at St. Clair Correctional Facility in

Springville, Alabama. As a Captain, Defendant Malone is responsible for safety of

all inmates at the Facility, for supervising the security activities of St. Clair, and the

supervision of all subordinate employees. Defendant Malone is sued in his official

capacity.

                            FACTUAL ALLEGATIONS

       13.    Defendants are aware of the extremely high rate of violence at St. Clair.

There have been six homicides at the Facility in the past 36 months, three of which


                                            6
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 7 of 42




occurred in 2014. This constitutes a rate of prisoner-on-prisoner homicides at St.

Clair that is drastically higher than the national average in state prisons. Based on the

Bureau of Justice Statistics’ most recent available annual data from 2011, the national

homicide rate in state prisons was approximately 5.4 homicides per 100,000 prisoners.

The homicide rate at St. Clair during the same time period was approximately 75.4

homicides per 100,000 prisoners. The homicide rate at St. Clair in 2012 was 75.6 per

100,000 prisoners, 77.7 per 100,000 prisoners in 2013, and the homicide rate to date

for 2014 is approximately 232.4 per 100,000 prisoners.

      14.    There is also a high rate of stabbings and serious assaults. Based on the

most recent data made available by the Alabama Department of Corrections, the rate

of serious assaults at St. Clair from January to May 2014 was 848.8 serious assaults

per 100,000 prisoners and the rate of fights and assaults combined was 4,321 per

100,000 prisoners.

      15.    Defendants are aware of this extreme level of serious life endangering

violence at St. Clair. In a news article from March 16, 2012, Defendant Davenport

referred to the overcrowding, contraband, and violence at St. Clair as a “security

nightmare.” There has been media coverage of each of the prisoner-on-prisoner

homicides, which has included official statements from ADOC.

      16.    Furthermore, undersigned counsel sent a letter to Defendant Thomas on


                                            7
          Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 8 of 42




April 22, 2014, regarding the alarming rise in violence and unprecedented homicide

rate at St. Clair under Warden Davenport’s leadership and met with the Commissioner

to emphasize these concerns.

         17.   Less than two months after this meeting regarding the alarming rise in

fatalities at St. Clair, another homicide occurred. Jodey Waldrop was killed inside his

cell on June 3, 2014.

         18.   On June 9, 2014, following the murder of Mr. Waldrop, undersigned

counsel sent a second letter to Defendant Thomas which documented the high rate of

violence and the number of homicides at St. Clair in the preceding 30 months. In this

letter, and in meetings with the Commissioner and his staff, undersigned counsel

detailed the mismanagement and violent conditions at St. Clair and called for

immediate reform and change in leadership.

         19.   No changes were made following these communications and the violence

at St. Clair continued. On September 16, 2014, another prisoner was killed at St.

Clair.

         20.   Defendants’ knowledge of the violent and dangerous conditions is also

established by institutional reports prepared by Defendants’ employees describing

violent incidents and lawsuits filed by prisoners challenging the abuse of authority and

conditions of confinement.


                                           8
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 9 of 42




      21.    Defendants are responsible for the care, custody and control of prisoners

in their custody, and, through their acts and omissions, Defendants have allowed a

dangerous and violent environment to flourish. Upon information and belief,

Defendants have not made significant efforts, and have not implemented adequate

changes in policy or practice to address, or to improve, the conditions at St. Clair that

allows violence to proliferate. Despite the extraordinary rate of violence and

homicides at St. Clair, Defendants have failed to take reasonable, necessary and

appropriate steps to prevent and remedy these dangerous conditions.

      22.    Where Defendants have responded, their response has been unreasonable.

Verbally abusive and physically aggressive intervention by staff heightens the tension

and makes the prison more dangerous. This behavior is modeled by the highest

ranking staff in the prison including Defendants Warden Davenport, Captain Sanders,

and Captain Malone.

      23.    It has been widely publicized that in 2012, Defendant Warden Davenport

reportedly punched a handcuffed prisoner in the face. Warden Davenport was not

demoted or removed from his command.

      24.    Upon information and belief, Defendant Captain Sanders engages in

arbitrary and unpredictable bullying tactics that keep the prison on edge including an

incident in 2013 when Captain Sanders snatched a food tray from a prisoner’s hands


                                           9
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 10 of 42




causing a dangerous and volatile situation to erupt leading to serious injuries to

officers and prisoners. Upon information and belief, Captain Sanders has taunted

prisoners and responded to their safety concerns by telling them to, “get a knife,” “kill

him or kill yourself,” and “if you really don’t like him, stab him.”

      25.     A group of high ranking officers have used excessive force and

promulgated the culture of violence through their own actions. This, combined with

Defendants’ failure to appropriately supervise staff with patterns of incidents

involving excessive force or abusive interactions, has created an environment where

the risk of physical harm is likely. This is reflected in the numerous assaults on

prisoners by a group of correctional staff who have been the subject of repeated

complaints of abuse, including but not limited to:

      a.     In 2014, Captain Carl Malone punched a prisoner, who was handcuffed,

      in the head, chipping the prisoner’s tooth.

      b.     In July 2014, Correctional Officers Donald Lukima and Christopher

      Smith, officers on Lt. Carter’s shift beat a prisoner. Officers Lukima and Smith

      ordered the prisoner out of his cell in the middle of the night, took him into the

      hallway outside his block, handcuffed him, and then hit him in the back of the

      head with handcuffs wrapped around their knuckles, causing injuries requiring

      staples. Upon information and belief, Lt. Carter observed the assault but did


                                           10
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 11 of 42




not intervene.

c.    In May 2014, Lt. Carter put his hands around an inmate’s neck and

applied pressure until he lost consciousness. The inmate had to be taken to

UAB hospital due to his injuries.

d.    In May 2014, Lt. Carter forced Dale Gilley to stand outside the shift

office facing the wall for fourteen hours and, at one point during that period of

time, slammed his head against the wall and punched him in the face.

e.    Jermaine Tillman was assaulted in February 2013, by Officers Chad

Cleveland, M. Desnides, and W. Howard. The officers assaulted Mr. Tillman

when he was returning to his cell from the showers and was restrained in

handcuffs behind his back. The officers hit Mr. Tillman in the face, slammed

his head into a window, and continued to punch, kick, and beat him when he

fell to the floor. Mr. Tillman’s injuries included swelling to his head and

bruising on his face.

f.    Upon information and belief, inmate Richardo Eason was beaten by

multiple St. Clair officers while handcuffed in February 2013. While assigned

to the segregation unit, Mr. Eason was placed in handcuffs before being

allowed to leave his cell for a shower. Officer JaMichael Howard left his post

and approached Mr. Eason, asked him a question, then punched Mr. Eason


                                    11
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 12 of 42




several times in the face. Officers Taylor Knight and Chad Cleveland then

assisted Howard in slamming Mr. Eason onto the floor.

g.    Upon information and belief, inmate Darrious Mabry was beaten by

Officer Matthew Moore in October 2012. In a dispute over Mr. Mabry leaving

the dining hall with extra cake, Officer Moore left his post and attacked Mr.

Mabry, who suffered a broken nose, split lip, broken tooth, injured eye, and

head contusions.

h.    Upon information and belief, on January 20, 2012, inmate Joseph Shack

was beaten by Sgt. John Mason and suffered hearing loss as a result. Mr. Shack

was handcuffed and shackled during the beating. Sgt. Mason punched him in

the head, face, and ear, stomped on his back, kicked him and yelled racial

epithets at him. Mr. Shack had requested the presence of a witness at a

disciplinary hearing, and Sgt. Mason responded: “This is what I do to a [n . . .]

that tries to tell me how to do my job.” Mr. Shack was treated for a ruptured

ear, fractured thumb, internal bleeding, and possibly fractured ribs. He was

fitted for a hearing aid following the rupture.

i.    Upon information and belief, James Bonds was beaten by officers and

suffered a severe eye injury in September 2011. Three correctional officers

shook down his cell, forced him to remove clothes and to squat and cough.


                                   12
       Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 13 of 42




      After they found a cell phone in his cell, the officers sprayed Mr. Bonds with

      a chemical agent and struck him with batons, then handcuffed him. After Mr.

      Bonds was handcuffed, Officer Donald Lukima arrived at the scene and struck

      Mr. Bonds in the eye while Mr. Bonds was handcuffed. Mr. Bonds suffered a

      serious eye injury, including an orbital wall fracture to his left eye and massive

      bleeding. His injuries required multiple treatments and surgeries at outside

      hospitals.

      26.    Defendants have also failed to promulgate, implement and enforce

adequate policies, procedures, and practices necessary to adequately supervise and

monitor the housing units and common areas in the Facility and to maintain the safety

and security of prisoners at St. Clair. Defendants are aware that the inadequate

supervision by correctional staff has created a dangerous environment, has contributed

to numerous homicides and assaults in the Facility, and creates a substantial risk of

serious harm. As stated by Defendant Davenport, the conditions at St. Clair make it

a “security nightmare.” They have failed to take reasonable measures to change their

practices, policies, procedures to improve safety and security of the prisoners in the

general population housing units.

      27.    Defendants fail to adequately supervise and monitor the housing blocks

in general population. Upon information and belief, St. Clair has six cellblocks, J, K,


                                          13
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 14 of 42




L, M, N, O, P, and Q, that house prisoners in general population. Each cellblock is

divided into two separate sides, so that they are designated as J1, J2, K1, K2, etc.

Blocks J and K are paired blocks that are connected by a hallway, as are L and M, N

and O, and P and Q. Each side of a cellblock is comprised of 24 two-man cells, so

that 48 prisoners live on each side of a block and 96 prisoners live in each block as a

whole. Each cell has a steel door through which prisoners enter and exit their cell.

The locking mechanisms on the majority of cell doors are broken or ineffectual and

provide no protection. (See ¶¶ 40-44 below.)

      28.    A single officer is assigned to supervise and monitor each of the housing

blocks and the 96 prisoners housed there. The officer is stationed in a “cube,” which

has windows that allow the officer to see into both sides of the block. Upon

information and belief, the cube officer is not permitted to leave their post during their

shift. Random patrols of the housing blocks by additional officers occur extremely

infrequently. Upon information and belief, most days, officers only walk through the

blocks during scheduled count times that occur three to five times in a 24 hour period.

Therefore, the cube officer is the only officer monitoring both sides of each block the

vast majority of the time. Upon information and belief, the officers in the cube are,

at times, asleep, on the telephone, or otherwise not paying attention to the prisoners

they are supervising.


                                           14
         Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 15 of 42




        29.   Upon information and belief, there are blind spots in all of the blocks that

cannot be seen by the cube officer, including the shower area, the TV/day room, and

inside all of the cells. There are few, if any, functioning cameras in the housing

blocks. Consequently, large sections of the housing blocks in general population are

not within the view of any officer the majority of the day.

        30.   The only means for prisoners to communicate with the officer in the cube

is by banging on the glass windows. If a prisoner is in a locked cell, there is no way

for a prisoner in his cell to contact the officer in the cube except by banging on his cell

door.

        31.   Each of the cellblocks open onto a common yard, referred to as the “G-

Yard” and doors leading to the G-Yard from the blocks are located in the hallways

that connect the paired blocks together. The gymnasium used by all of the prisoners

in general population is located on the G-Yard. The prisoners who live in H-dorm and

G-dorm also use the G-Yard and the gymnasium.

        32.   There are between 200 and 400 prisoners on the yard or in the gym

during yard call and gym call. Upon information and belief, there is one officer

assigned to supervise the yard and the gym during yard and gym call and between two

and four roving officers. However, there are often less officers present than are

assigned to the gym and yard.


                                            15
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 16 of 42




      33.    There are also two open bay dorms at St. Clair. The first is known as “H-

Dorm,” where prisoners enrolled in the Therapeutic Communities program (“TC”),

a substance abuse treatment program, reside. Upon information and belief, there are

approximately 260 prisoners who currently reside in H-Dorm. The other dorm is

known as G-Dorm. It is a part of the infirmary and typically, prisoners requiring

medical care live there. Upon information and belief, there are approximately 58

prisoners who live in G-dorm.

      34.    Upon information and belief, there is one officer who is assigned to sit

at a desk at the entrance of H-dorm and who is responsible for supervising the

prisoners who reside in the dorm. That officer is not permitted to leave his assigned

post during his shift and is unable to see inside the bathrooms, as well as the back of

the dorm where some prisoners’ beds are located, from the desk where he sits. Upon

information and belief, random patrols of the dorms by additional officers occur

extremely infrequently. Most days, officers only walk through the blocks during

scheduled count times that occur three to five times in a 24 hour period. Therefore,

the officer assigned to the desk is the only officer monitoring each block the vast

majority of the time and the officers at the desk are, at times, asleep, on the telephone,

or otherwise not paying attention to the prisoners they are supervising.

      35.    Upon information and belief, there are blind spots in the dorms. The


                                           16
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 17 of 42




officer assigned to monitor the dorm from the desk near the entrance is not able to see

a portion of the back of the dorm where some prisoners’ beds are located.

Additionally, the officer is not able to see into the bathrooms from his or her post.

There are few, if any, functioning cameras in the dorms. Consequently, portions of

the dorms are not within the view of any officer for large parts of the day.

      36.    Defendants are aware that the inadequate supervision in general

population contributes to the high rate of prisoner-on-prisoner violence. Inattentive

officers, the inability to contact officers in an emergency, and blind spots in the units

have contributed to numerous violent incidents, many of which have been stabbings,

that have resulted in serious injury or death, including but not limited to:

      a.     In June 2014, Jodey Waldrop was stabbed and killed inside his cell, a

      blind spot to the cube officer, by a prisoner who entered his cell, when the

      blocks are supposed to be on lock down and no prisoner should have been out

      of his cell.

      b.     In June 2014, Derrick White, who lived in P block, was assaulted in the

      hallway between P and Q blocks during a movement time by a prisoner who,

      upon information and belief, was not assigned to either block. There were no

      officers present when Mr. White was assaulted. He was strangled and then

      dragged while unconscious into the showers in Q. He was in the showers from


                                           17
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 18 of 42




approximately 7:30 a.m. until 1 p.m. and was never found by staff, despite the

fact that, upon information and belief, a count was conducted during the time

he was missing.

c.    In May 2014, Derrick White was stabbed in the gym by another prisoner.

Mr. White’s assailant also stabbed another prisoner during this incident. There

were approximately 20 prisoners present in the gym and 200 prisoners in the

yard at the time of the stabbing. Upon information and belief, there was one

officer supervising the yard and no officers present in the gym.

d.    In May 2014, Antonio Cheatham was assaulted by another prisoner in the

bathroom of the H-dorm, a known blind spot, while no correctional officers

were in view. Part of his ear was bitten off and flushed down a toilet before

any officers responded to the struggle.

e.    In February 2014, a prisoner was stabbed inside his cell, a blind spot to

the cube officer.

f.    In January 2014, Marquette Cummings was stabbed and killed in the TV

room, a blind spot to the cube officer.

g.    In January 2014, Michael Mays was stabbed by another prisoner on the

way to the chow hall. Mr. Mays was stabbed in the neck, in the back, and in

the elbow. Mr. Mays had to be taken to an outside hospital for treatment.


                                   18
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 19 of 42




h.    In September 2013, Franky Johnson was burned in his cell in the middle

of the night by a prisoner who was able to exit his own cell and enter Mr.

Johnson’s cell. That prisoner threw powder hair remover that had been heated

in a microwave on Mr. Johnson while he was sleeping, resulting in severe

chemical burns.

i.    In July 2013, Mark Duke was stabbed several times by another prisoner

in the G-Yard and suffered a punctured lung.

j.    In 2013, a prisoner was stabbed multiple times with an ice pick outside

the gym by another prisoner. At the time there were approximately 200

inmates in the area, but no officers were present to intervene in the conflict.

The prisoner made it to the infirmary unassisted and was eventually transported

by ambulance to an outside hospital because of the seriousness of his wounds.

k.    In May 2012, John Rutledge was strangled to death inside his cell in the

middle of the night when the cells should have been locked down. Multiple

assailants were able to enter Mr. Rutledge’s cell and hog-tie and strangle him

without being observed by officers. His cell mate discovered him and reported

his condition to the cube officer. By the time officers reached the cell, Mr.

Rutledge was dead from strangulation.

l.    Upon information and belief, Muhammad Al-Ameen, also known as


                                   19
         Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 20 of 42




        Terry Rivers, was repeatedly stabbed on the yard by another inmate in May

        2012. There were numerous inmates on the yard, but no officers were present

        when Mr. Al-Ameen was stabbed. Mr. Al-Ameen underwent surgery on his

        neck and surgery on his hand to repair damaged tendons.

        m.    In October 2011, Jabari Bascomb was stabbed to death in his cell, a blind

        spot to the cube officer, after another prisoner broke into his cell.

        n.    Upon information and belief, in January 2011, Anthony Moss was

        assaulted in his cell, a blind spot to the cube officer, and suffered an injury

        which caused him to lose the use of his left eye.

        37.   Defendants have also failed to promulgate and enforce adequate and

effective policies, procedures and practices in the segregation housing units meant to

keep prisoners isolated from one another for their protection. Upon information and

belief, policy requires that prisoners in segregation be placed in handcuffs before their

cell door is opened, and that only one door be open at a time so that prisoners in

segregation do not come in contact with each other. In practice, the cube officer

frequently rolls the doors from his cube without the placement of handcuffs, allowing

for multiple people in segregation to be on the hallway and in the showers at the same

time.

        38.   DOC staff also fail to adequately conduct searches for contraband and


                                            20
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 21 of 42




knives in segregation. The failure to follow the policies of permitting only one

prisoner out of his cell at a time and searching for contraband creates a significant risk

of serious harm because these conditions have been the cause of multiple violent

assaults, including but not limited to:

      a.     In August 2014, a prisoner was stabbed by the same prisoner that fatally

      stabbed Jammy Bell in 2013, after the prisoner was assigned to clean the halls

      in the segregation unit. The officers failed to secure the food-tray slots on the

      cell doors prior to sending the prisoner into the unit and the other man was able

      to stab the prisoner in his leg by sticking a knife attached to a broom handle

      through his open tray slot.

      b.     In August 2013, Jammy Bell was fatally stabbed by another prisoner in

      the segregation unit after an officer failed to follow proper protocol for opening

      the cell doors.

      c.     Upon information and belief, Jovar Gamble was stabbed multiple times

      in August 2012, while housed in the segregation unit. Mr. Govar was in

      handcuffs on the walk when another segregation inmate stabbed him.

      d.     Upon information and belief, Orlando Porch was assaulted by another

      inmate while both men were housed in segregation in January 2012.

      39.    Defendants are aware of the locations and circumstances in which these


                                           21
       Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 22 of 42




homicides and assaults have occurred and that inadequate supervision was one of the

dangerous conditions that made it possible for these incidents to occur. However, they

have failed to adequately increase patrols and supervision of the units, have not

installed cameras or provided means for prisoners to call for help in an emergency, nor

taken any other reasonable action to increase and improve the quality of supervision

in general population, leaving the plaintiff class exposed to the continuing real and

imminent substantial risk of serious harm.

      DEFENDANTS’ FAILURE TO PROVIDE SECURE LOCKING
      MECHANISMS ON INDIVIDUAL CELL DOORS PLACES INMATES
      AT RISK OF VIOLENT ASSAULT.

      40.    The locking mechanism on the majority of cells are broken and have not

been repaired. Defendants rely on a system of locked, secure cells to house inmates

safely, rather than visual monitoring, yet Defendants are aware that the locks in the

majority of doors at the Facility can be easily tampered with so that they do not lock.

Without locking cell doors, prisoners in the cell blocks have no means of protecting

themselves inside their cells. Defendants have refused requests to fix cell doors and

have failed to take adequate measures to repair the broken cell locks.

      41.    The locks on the cell doors in general population can be easily tampered

with by using items such as piece of plastic, a razor blade, or paper clips to jam the

locking mechanism. Once the locking mechanism is jammed, it does not engage and


                                          22
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 23 of 42




the door can be “tricked,” meaning it can be opened from the inside or from the

outside with a plastic ID card which all prisoners carry. The locks on some of the

doors in general population are broken and do not work, even if nothing is jamming

the mechanism. In some doors, the entire mechanism is missing. Cell doors in

general population remain open all day, making it possible for prisoners to jam the

locks in other prisoners’ doors. The locks on the doors in segregation can also be

easily tampered with by jamming an object, such as a toothbrush, in the mechanism

that rolls the door, which prevents the lock from engaging.

      42.    Consequently, Plaintiffs cannot keep other prisoners from entering their

cells and prisoners are able to enter or exit their own and other prisoners’ cells at any

time, even during lockdown. This creates a particularly dangerous environment

because cells are “blind zones” in the blocks, meaning that officers in the cube cannot

see inside the cells and there is no way for a prisoner to call an officer for help in the

event of an emergency, other than banging on the cell to try to get the attention of the

cube officer. (See ¶¶ 28-29 above) Because cube officers are frequently asleep or are

otherwise inattentive, this is not an effective means for a prisoner being assaulted to

get help.

      43.    Defendants know that the locks on most cells do not work. St. Clair staff

have made comments demonstrating their knowledge, have used their own ID cards


                                           23
       Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 24 of 42




to open cell doors, and have seen prisoners come out of their cells when the unit is

supposed to be on lockdown. Upon information and belief, there is an indicator light

panel in the cube that indicates to the cube officer when cell doors are not locked.

Furthermore, Defendants are aware that the lack of functioning locks creates

dangerous conditions because prisoners have been assaulted in their cells during times

when the unit was on lockdown. These incidents include, but are not limited to:

      a.     In June 2014, Jodey Waldrop was murdered in his cell by another

      prisoner, who was able to enter Mr. Waldrop’s cell in the middle of the night

      when the block was on lockdown, due to the cell door not locking.

      b.     In August 2013, Jammy Bell was stabbed by another prisoner in

      segregation after his cell door was tampered with.

      c.     In May 2012, John Rutledge was strangled to death by other prisoners

      who entered his cell in the middle of the night, when the cells should have been

      on lockdown.

      d.     Upon information and belief, in May 2011, Derrick Averhart was stabbed

      in the arm, head, and face by another inmate while handcuffed in his cell in

      segregation.

      44.    Defendants have failed to respond in a reasonable manner to the

continuing real and imminent substantial risk of serious harm posed to the plaintiff


                                         24
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 25 of 42




class by the broken locks on the general population cell doors. Defendants do not

adequately train younger staff how to determine if a door is tricked, do not regularly

check cell doors to make sure the lock is functioning properly or repair locks they

know are broken, have refused Plaintiffs’ requests to repair broken locks, and have

taken no other reasonable or adequate action to ameliorate the risk of harm created by

cell doors that do not lock.

      VULNERABLE INMATES, INCLUDING THE DISABLED AND
      ELDERLY, ARE HOUSED IN VIOLENT UNITS WHERE THEIR
      RISK OF VIOLENT ATTACK IS INCREASED.

      45.    Defendants’ lack of risk assessment and classification system puts

prisoners at risk of violence. Defendants fail to effectively separate prisoners who are

at risk for a violent conflict. Defendants fail to adequately screen incoming prisoners

to determine if they have enemies in the Facility, based either on personal conflicts,

prior conflicts at other facilities in ADOC, or gang-based conflicts, and do not

adequately take such considerations into account when making housing assignments.

Without the ability to identify enemies and vulnerable inmates, St. Clair cannot

appropriately manage risks of violence, thus exposing prisoners to harm.

      46.    Upon information and belief, Defendants do not adequately factor in a

prisoner’s security level, including his offense of conviction, sentence, and

disciplinary record, in making housing assignments.          Minimum, medium, and


                                          25
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 26 of 42




maximum custody prisoners can be, and are, assigned to the same units and cells as

each other. Therefore, prisoners with short term of years sentences, convictions for

relatively minor offenses and clean or only minor disciplinary histories can be

assigned to the same unit, and assigned to share a cell with, prisoners who have life

sentences, were convicted of more serious offenses, or with a violent institutional

history. It is unreasonable of Defendants to fail to make housing assignments based

on security classification status or other vulnerabilities.

      47.    Upon information and belief, Defendant Sanders, the captain of general

population is responsible for authorizing all housing movement and has repeatedly

assigned older, physically disabled, or otherwise vulnerable prisoners to units and

cells with young prisoners with a history of violent conduct. He has also failed to

authorize a change in housing assignment when such prisoners request a bed change

based on fear for their safety. (See ¶¶ 52-53 below.)

      a.     James Edwards, who is 56 years old, has recently been assigned to cells

      with much younger prisoners who engage in risky activities that put him at risk

      and who steal his property. In 2012, while living in a prior block, Mr. Edwards’

      cell mate would leave the cell door unlocked at night in order to obtain drugs

      and engage in other prohibited behavior. Mr. Edwards complained to Captain

      Sanders and requested a bed transfer because his cell mate was using drugs and


                                           26
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 27 of 42




taking his property. Captain Sanders refused to move him and told him, “When

I see one of y’all on a stretcher, I know it’s a problem.”

b.    In June 2014, a 60 year old, physically disabled prisoner, was robbed at

knife point by another prisoner, who, upon information and belief, is a 23 year-

old mentally ill prisoner. The prisoner was robbed less than 24 hours after

being transferred from the Honor Dorm to L Block, a much more violent block,

housing younger inmates.

c.    Robert Woods was recently reassigned by Defendant Sanders from a

block where many older prisoners live, to a violent block where he is

vulnerable because he is 57 years old and physically disabled. When he

expressed fear for his safety to Defendant Sanders, Sanders responded “If you

ain’t got a knife, I’ll give you one.” When Mr. Woods’ property box was

broken into in his cell and he reported the theft to Defendant Sanders, Sanders

responded that he had moved Mr. Woods so that something like that would

happen to him. When Mr. Woods spoke to Defendant Davenport about

Defendant Sanders’ response to his fears, Defendant Davenport responded by

asking Mr. Woods if he had a knife yet. When Mr. Woods responded that he

had not, Defendant Davenport told Mr. Woods to do what he needed to do to

survive on his new block. Mr. Woods made one final request to Defendant


                                   27
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 28 of 42




       Sanders to move him from his new block and Defendant Sanders responded by

       placing several box cutters on a table and told Mr. Woods to make a knife to

       protect himself.

       48.      Upon information and belief, Defendants fail to adequately and

effectively separate prisoners who have had violent confrontations at St. Clair.

Defendants do not have reasonable policies and procedures in place that would enable

re-classification of prisoners who may be identified as violent as a result of actions in

the Facility.

       49.      In response to violence between prisoners, Defendants place the victim

and the aggressor in punitive isolation for an indefinite period. The victim is then

placed in a catch-22 position of remaining indefinitely in punitive isolation or signing

a “living agreement” with the other inmate(s) involved in the altercation in order to

be released from segregation back into general population. Upon information and

belief, once a living agreement has been signed, Defendants can and do assign

prisoners who have engaged in violence or threatened each other to the same unit.

Defendants’ requirement that victims of violent assaults must either remain in

segregation or sign a “living agreement,” and then be placed back in contact with the

prisoner(s) who assaulted them, is not a reasonable response to violent incidents

between prisoners.


                                           28
           Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 29 of 42




          50.   Defendants do not adequately consider an inmate’s mental health status

or history of violent conflict with other prisoners in making housing assignment.

Upon information and belief, inmates with serious mental health problems and

histories of repeated violent conflict live in general population and do not get adequate

treatment or supervision. Defendants also fail to provide adequate training or

supervision to staff on how to respond to prisoners who report threats of violence

made by prisoners with known histories of mental instability and violent conflict.

Defendants’ failure to adequately classify and treat prisoners with mental illness and

histories of repeated violent assaults, as well as their failure to provide adequate

training or supervision of staff on how to respond to mentally ill or violent prisoners

has resulted in substantial harm to Plaintiffs.

          51.   Defendants have failed to create and enforce adequate procedures,

practices, and policies for investigating and responding to inmate requests to be

moved to a new cell assignment based on threats or fear for their safety in their current

housing assignment. Defendants have rejected inmate requests for movement out of

hand with little or no effort made to determine the veracity and seriousness of the

threat.

          52.   Upon information and belief, all bed change requests must be approved

by Defendant Sanders. Defendant Davenport, as well as Captain Sanders, Lieutenant


                                           29
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 30 of 42




Carter, and Lieutenant Scott have responded to Plaintiffs’ requests to move based on

threats to their safety by telling them to arm themselves with knives, by making

comments to the effect that they are tough enough to handle the potential violence, by

telling the threatened prisoners that Defendants do not care what happens to them, or

by telling them that the only option for transfer is to be moved into segregation. If a

threatened prisoner agrees to move to segregation for his safety, Defendants have also

denied that request.

      53.    Defendants are aware that their refusal to classify prisoners and refusing

to investigate and grant movement requests based on a prisoner’s safety concerns

creates a substantial risk of serious harm because prisoners have been assaulted after

their requests to move housing assignments were denied. These incidents include, but

are not limited to:

      a.     In June 2014, prior to being assaulted, Derrick White requested to be

      moved back to segregation because he believed his life was in danger. His

      request was refused and he was stabbed soon after.

      b.     In June 2014, a 60 year old, physically disabled prisoner, was robbed at

      knife point by another prisoner, who, upon information and belief, is a 23 year-

      old mentally ill prisoner.

      c.     In February 2014, a prisoner requested to be moved out of his unit after


                                          30
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 31 of 42




his cell mate tried to stab him and threatened to kill him. His request was

denied without adequate investigation and he was later stabbed by his cell mate

inside his cell.

d.     In September 2013, Allan Williams was stabbed by a prisoner, who,

upon information and belief, is a mentally ill prisoner. Mr. Williams was

stabbed while he was walking back from his shower. Upon information and

belief, the man who stabbed Mr. Williams had a violent history and had stabbed

another prisoner a few years before he stabbed Mr. Williams.

e.     Upon information and belief, Freddie James Stallworth was stabbed

multiple times by another prisoner who was his cell mate. The stabbing caused

serious injuries including a punctured lung, and required surgery at a free world

hospital.   Prior to attack, Mr. Stallworth notified Lt. Carla Graham in

November 2013, that he was in danger from his cell mate, and requested a

move. His request was denied without adequate investigation. He was stabbed

soon thereafter.

f.     In 2011, a prisoner was stabbed by another prisoner, who had requested

to go to segregation for his own protection but his requests were denied. Upon

information and belief, the assailant feared for his safety due to outstanding

debts he owed other prisoners for drugs and attacked the prisoner in order to get


                                   31
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 32 of 42




      moved into segregation where he felt he would be safer.

      54.    These incidents of violence demonstrate Defendants’ awareness that the

failure to classify prisoners based on security status, a history of conflict, and mental

health status and to investigate housing movement requests based on fear or threats

of violence creates a substantial risk of serious harm. Even though Defendants know

that their current policies and practices contribute to serious incidents of violence,

they have failed to take adequate action to address the problems in classification.

Upon information and belief, there have not been significant or effective changes to

the classification system or to how Defendants respond to movement requests in

response to these violent incidents, leaving the plaintiff class exposed to the

continuing real and imminent substantial risk of serious harm.

      DEFENDANTS’ FAILURE TO ADEQUATELY ENFORCE HOUSING
      ASSIGNMENTS PUTS PRISONERS AT RISK OF VIOLENCE.

      55.    Defendants do not take reasonable measures to ensure prisoners only

have access to the housing unit where they are assigned. Despite the fact that prisoners

are required to wear colored wristbands that correspond to their housing assignment,

Defendants fail to regularly enforce dorm assignments and officers in the cube will

frequently let prisoners into a unit where they are not assigned without verifying they

reside in the unit. In the absence of officer enforcement, prisoners are forced to forge



                                           32
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 33 of 42




associations with other prisoners for their protection in the blocks. In the absence of

officer supervision and enforcement, movement between blocks and block occupancy

is enforced through physical threats and violence.

      56.    Upon information and belief, despite regulations that require that only

one unit at a time to move to meal, work, shower, and mail call, the doors to the

housing units regularly remain unlocked during movement times and all units on G-

Yard have yard call at the same time. Upon information and belief, during movement

times, regulations require that an officer be posted to the door or hallways in and out

of the unit to ensure only prisoners assigned to the unit are allowed to enter but

officers are very rarely or never posted to these locations during movement times.

Therefore, it is easy for prisoners to enter a unit they are not assigned to.

      57.    Upon information and belief, staff conduct a bed roster count twice a

week, making it possible for prisoners to stay overnight in a unit or cell to which they

are not assigned.

      58.    Defendants are aware that the failure to enforce housing assignments

contributes to the high rate of violence and creates a significant risk of serious harm.

There have been numerous incidents of violence where the failure to enforce housing

unit assignments has contributed to the circumstances that made the assault possible

and where a prisoner was assaulted in their unit by another prisoner who was not


                                           33
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 34 of 42




assigned to that unit, including but not limited to:

      a.     In June 2014, Derrick White was attacked when another prisoner

      strangled him in the hallway between P and Q and was able to drag Mr. White

      into Q-2, which required him to go through the main unit doors. Upon

      information and belief, Mr. White’s assailant was not assigned to either P or Q.

      b.     In July 2013, Mark Duke threatened at knife point in an attempted

      robbery in his cell by a prisoner who was not assigned to his block.

      c.     Upon information and belief, Stanley Joe Flambo was assaulted in July

      2013, by another prisoner, who was armed with a knife and punched him and

      attempted to force him over the top tier railing of the cell block. His assailant

      was not assigned to his cell block.

      d.     Upon information and belief, Benjamin Howlet was stabbed in his cell

      in November 2011, when correctional officers permitted two unauthorized

      inmates to enter Mr. Howlet’s cell. Mr. Howlet suffered numerous injuries to

      his face, rib area, and stomach requiring surgery at an outside hospital.

      59.    Despite Defendants’ knowledge that the failure to enforce block and cell

assignments contributes to serious violent incidents, Defendants have failed to

implement adequate changes in procedure and practice to address the substantial risk

of serious harm. Upon information and belief, there has been no meaningful increase


                                            34
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 35 of 42




in enforcement of housing assignments following the incidents of violence, leaving

the plaintiff class exposed to the continuing real and imminent substantial risk of

serious harm.

      DEFENDANTS FAIL TO PROVIDE ADEQUATE REHABILITATIVE
      PROGRAMMING AND THERAPEUTIC SERVICES.

      60.    In addition to creating an environment where abuse and violence are the

norm, Defendants have failed to provide adequate positive, rehabilitative, recreational,

or religious programming, as well as treatment and services for drug addiction and

mental illness.   Upon information and belief, Defendants provide inadequate

counseling services that are aimed at addressing mental illness, disability and drug

addiction, despite data that show that the vast majority of prisoners suffer from one

or both of these afflictions. The failure to provide adequate treatment for these

conditions contributes to the high level of violence. Furthermore, rather than

providing services, Defendants respond to prisoners suffering from mental illness,

disability and drug addiction by placing them in punitive segregation, which isolates

them and can exacerbate their symptoms. These prisoners are then released back into

general population more impaired and more traumatized.

      61.    Upon information and belief, Defendants have severely restricted

programs that are aimed at reducing violence, giving prisoners a forum to voice



                                          35
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 36 of 42




concerns and resolve issues, incentivizing good behavior, and providing prisoners an

opportunity to educate themselves. Upon information and belief, Defendants have

drastically limited access to outside religious organizations that minister to prisoners.

The unavailability of positive and constructive programming contributes to conflicts

and tensions among prisoners and to the high rate of violence.

      62.    Upon information and belief, Defendant Davenport has eliminated or

drastically limited prisoners’ access to books.        Upon information and belief,

Defendant Davenport removed most or all of the books from the housing units that

were previously available to prisoners, including religious books, self-help books,

educational books for men trying to earn their GEDs, and novels.

      DEFENDANTS’ FAILURE TO MONITOR AND POLICE THE ROLE
      OF DOC STAFF IN PROFITING FROM THE CIRCULATION OF
      CONTRABAND PUTS PRISONERS AT RISK OF VIOLENCE.

      63.    Because of poor management, drugs, including methamphetamine,

methadone, heroin, suboxone, and marijuana, are prevalent at St. Clair and drug abuse

and addiction among prisoners is widespread. Upon information and belief, many of

the drugs are brought into the Facility by DOC staff. Over the past two years, there

have been dozens of reports of staff willfully violating DOC policy, including

smuggling in contraband. This has enabled widespread corruption among officers and

officers are able to extort money and favors from prisoners in exchange for drugs.


                                           36
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 37 of 42




      64.    Drugs create a substantial risk of serious harm and are a major source of

conflict at St. Clair, both because of behavior stemming from addiction, for which

Defendants have failed to provide adequate services and treatment, and because of the

dynamics of debt created by officers’ and prisoners’ participation in drug sales.

      65.    Defendants are indifferent to the circulation of drugs in the Facility and

have failed to adequately prevent officers bringing in and participating in the sale of

drugs to prisoners in the Facility. Upon information and belief, Defendants do not

employ effective search protocols and procedures when officers enter the Facility.

Furthermore, Defendants’ failure to provide meaningful incentives, programming, and

treatment, contributes to prisoners engaging in risky behavior, such as gambling and

drug use. (See ¶¶ 60-62 above.) Defendants’ failure to reasonably and adequately

respond to the prevalence of drugs in the Facility leaves the plaintiff class exposed to

the continuing real and imminent substantial risk of serious harm

                        CLASS ACTION ALLEGATIONS

      66.    Plaintiffs bring this action on behalf of all present and future prisoners

at St. Clair Correctional Facility. This action is brought pursuant to the Federal Rules

of Civil Procedure 23(a), (b)(1), and (b)(2). The class meets the requirements of Rule

23 as follows:

      a.     There are approximately 1,300 prisoners confined at any one time to St.


                                          37
 Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 38 of 42




Clair Correctional Facility, who are subject to a substantial risk of a violent

assault. The membership of this class continually changes, rendering joinder

of all members impracticable. Upon information and belief, dozens of incidents

of violent assaults are filed each year. Many more incidents go unreported.

b.    The questions of law and fact presented by the named Plaintiffs are

common to all members of the class, and include whether Defendants’ policies

and practices subject prisoners to a substantial and unreasonable risk of

significant harm. The policies and practices include whether Defendants have

failed to adequately monitor and supervise prisoners at St. Clair; whether

Defendants have failed to adequately assess prisoners for risk of violence and

failed to implement an adequate classification system; whether Defendants have

failed to adequately enforce housing block, dorm, and cell assignments;

whether Defendants have failed to adequately investigate housing movement

requests based on fear of harm; whether Defendants have failed to provide

secure locking mechanisms on individual cell doors; whether Defendants have

failed to adequately monitor and police the role of ADOC staff in the

availability of contraband items; whether Defendants have failed to adequately

train, supervise, and discipline staff with a history of harassing and abusing

prisoners, and whether supervisory Defendants have failed to adequately


                                  38
       Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 39 of 42




      screen, assign, train and supervise staff. As a result, every prisoner confined

      to St. Clair risks being subjected to these unlawful practices. The claims and

      practices alleged in this complaint are common to all members of the class.

      c.     The violations suffered by the named Plaintiffs are typical of those

      suffered by the class. The entire plaintiff class will benefit from the injunctive

      and declaratory relief sought.

      d.     Plaintiffs Antonio Cheatham, Mark Duke, James Edwards, Dale Gilley,

      Franky Johnson, Michael Mays, Derrick White, Allan Williams, and Robert

      Woods are presently incarcerated at St. Clair Correctional Facility. These

      named Plaintiffs will fairly and adequately protect the interests of the class.

      e.     The named plaintiffs are represented by The Equal Justice Initiative, a

      non-profit legal services organization with decades of experience challenging

      unconstitutional conditions of confinement.

      f.     The Defendants have acted or failed to act, on grounds generally

      applicable to the class, thereby making injunctive relief appropriate with respect

      to the class as a whole.

             EXHAUSTION OF ADMINISTRATIVE REMEDIES

      67.    There are no administrative remedies within the Alabama Department of

Corrections for named Plaintiffs or other members of the plaintiff class to exhaust.


                                          39
        Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 40 of 42




                              CLAIMS FOR RELIEF

                                CAUSE OF ACTION

                          Cruel and Unusual Punishment

      68.    Defendants, through their policies, practices, acts and omissions, exhibit

deliberate indifference to the continuing real and imminent substantial risk of serious

physical harm, in violation of the right of plaintiff class of prisoners to be free from

cruel and unusual punishment under the Eighth and Fourteenth Amendments to the

United States Constitution.

      69.    Defendants, through their policies, practices, acts and omissions, subject

the plaintiff class of prisoners to be free from unnecessary and wanton infliction of

pain, and emotional and physical injury in violation of the Eighth and Fourteenth

Amendments to the United States Constitution.

      70.    With deliberate indifference to the substantial risk of serious harm to the

plaintiff class, Defendants failed to appropriately train, assign, and supervise staff,

subjecting the plaintiff class to substantial risk of serious bodily harm in violation of

the Eighth and Fourteenth Amendment to the United States Constitution.




                                           40
      Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 41 of 42




                            PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully pray that this Court:

1.   Assume jurisdiction over this action;

2.   Personally conduct an unannounced inspection of St. Clair Correctional Facility

     and all relevant institutional records and files;

3.   Grant Plaintiffs a full trial and discovery in this matter;

4.   Adjudge and declare that the acts and omissions of the Defendants with regard

     to the classmembers violate the Eight and Fourteenth Amendments to the

     United States Constitution;

5.   Order Defendants to comply with the Constitution and enjoin Defendants from

     subjecting Plaintiffs to cruel and unusual punishment;

6.   Award Plaintiffs appropriate costs for expert fees and collateral litigation

     expenses; and




                                         41
      Case 4:14-cv-01952-RDP Document 1 Filed 10/13/14 Page 42 of 42




7.   Order such additional relief as the Court may deem just and proper.

     Respectfully submitted this 13th day of October, 2014.

                                    Respectfully submitted,

                                    /s/ Bryan A. Stevenson
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                                      42
